Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 1 of 16 PageID #: 483



                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE

JAMES ANDERSON,                        )
                                       )
             Plaintiff,                )
                                       )
      v.                               ) Civ. No. 08-808-SLR
                                       )
FREDERICK FORD MERCURY INC.,           )
                                       )
            Defendant.                 )




Maggie Ruth Clausell, Esquire of Maggie Ruth Clausell at Law, Dover, Delaware.
Counsel for Plaintiff.

George Thomas Lees, III, Esquire of Rawle & Henderson LLP, Wilmington, Delaware.
Counsel for Defendant.


                             MEMORANDUM OPINION




Dated: March 17,2010
Wilmington, Delaware
 Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 2 of 16 PageID #: 484



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I. INTRODUCTION

       Plaintiff James Anderson ("plaintiff') filed a complaint against defendant

Frederick Ford Mercury, Inc. ("defendant"), alleging that defendant engaged in unlawful

conduct during the course of a retail car transaction. More specifically, plaintiff

contends that defendant's conduct violated: (1) the Truth in Lending Act ("TILA"), 15

U.S.C. §§ 1601 et seq. (count IX); (2) the Equal Credit Opportunity Act ("ECOA"), 15

U.S.C. §§ 1691 et seq. (count II); (3) the Fair Credit Reporting Act ("FCRA"), 15 U.S.C.

§§ 1681 et seq. (count IV); and (4) Regulation B of the Federal Reserve Board

("Regulation B"), 12 C.F.R. Part 202 (count III). Plaintiff also asserts state and common

law claims relating to the transaction, including: (1) wrongful possession, pursuant to 6

Del. C. § 9-609 (count V); (2) violation of 6 Del. C. § 9-611 for failure to notify (count

VI); (3) breach of contract (count I); (4) conversion (count VII); (5) fraud (count VIII);

and (consumer fraud) (count X). Plaintiff seeks judgment against defendant for actual

and punitive damages, as well as compensatory damages for, e.g., emotional pain,

suffering, humiliation and embarrassment. (D.1. 1)

      At the conclusion of discovery, defendant timely moved for entry of a summary

judgment. Plaintiff has responded. The court has jurisdiction over the case pursuant to

28 U.S.C. § 1331. For the reasons that follow, defendant's motion shall be granted as

to counts II, III, IV and IX. The remainder of the complaint shall be dismissed.

II. BACKGROUND

      Plaintiff is an individual living in Milford, Delaware. Defendant is a Delaware

corporation doing business in Seaford, Delaware. Defendant is in the business of
 Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 3 of 16 PageID #: 485



selling cars, including used cars. For purposes of this motion, plaintiff was a consumer

in the market for a used car at all relevant times.

       On or about April 17, 2008, plaintiff purchased a used 1999 Pontiac Montana

(the "Montana") from an auto auction for approximately $2,350. By April 21, 2008,

plaintiff (through a friend) had contacted defendant telephonically to inquire about

purchasing another used car. Starting on April 21, 2008, multiple credit inquiries are

recorded on plaintiff's credit report, including inquiries by defendant. (D.1. 55 at ex. I)

Plaintiff electronically completed a credit application with defendant on April 25, 2008.

Prior to April 2008, plaintiff had purchased three vehicles from defendant; plaintiff

understood that financing for these vehicles was placed with third parties. (D.1. 51 at A5

and A9; D.1. 157 at A83, A85-87)

       On April 28, 2008, plaintiff appeared at the Frederick Ford Seaford dealership in

order to buy a 2005 Chrysler Town & Country van, VIN number 2C4GP44R75R171285

("the van"). Plaintiff was prepared to trade in the Montana toward the purchase price of

the van; the trade-in was later characterized in the paperwork as a "down payment"

valued at $2,500. In connection with these discussions, plaintiff signed the following

documents on April 28, 2008: (1) a "Retail Order for a Motor Vehicle ("Buyer's Order

#1");" (D.1. 51 at A10); (2) a Retail Installment Sales Contract ("RISC #1") (id. at A12-

15); and (3) a Dealer Tag Overnight Approval Form (id. at A16).

       Buyer Order #1 was not signed by a representative of defendant. In this regard,

the document provided: "THIS ORDER IS NOT VALID UNLESS SIGNED AND

ACCEPTED BY DEALER OR HIS AUTHORIZED REPRESENTATIVE." (Id. at A10)

Buyer Order #1 included the following additional information: (1) a selling price of

                                              2
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 4 of 16 PageID #: 486



$12,500; (2) amount financed of $10,509; (3) through "Regional Acceptance Corp.;" (4)

66 payments; (5) of $276.33 per month; (6) representing a 22% APR. 1 (Id; see also 0.1.

55, ex. A at 2)

       RISC #1 provided that, by signing, the buyer had chosen to buy a vehicle "on

credit under the terms" described in the "Federal Truth-in-Lending Disclosures," which

credit terms included the following: (1) total sales price of $20,737.78 (including the

$2,500 down payment); (2) amount financed of $10,509; (3) at 22% APR; (4) over 66

months; (5) payments of $276.33 per month; (6) beginning June 1, 2008. (0.1. 51 at

A12) RISC #1 further calculated the total finance charge to be $7,728.78, with the

payments totaling $18,237.78. (/d.) RISC #1 was signed by plaintiff; instead of a

signature, "Frederick Ford/Mercury Inc." was stamped in the line "Seller(Creditor)

Signs." (Id.) RISC #1 provided, in the "Who is Bound" paragraph, that the '''we,' 'us,'

and 'our' mean [Frederick Ford/Mercury Inc.] and, after assignment and acceptance,

the Seller's assignee, JP Morgan Chase Bank, N.A., acting on its own or as agent for

an affiliated entity (and any subsequent assignee)." (/d.) (emphasis added) RISC #1

appears to be a Chase document.

      By executing the Dealer Tag Overnight Approval Form on April 28,2008, plaintiff

acknowledged that, "upon the event that the buyer or seller cannot obtain financing

on the above referenced vehicle, ... the buyer will return the vehicle and dealer tag to

Frederick Ford-Mercury within 24 hours after the buyer has been notified that financing

is not able to be obtained .... Any vehicle or dealer tag not returned within 24 hours



      1"APR" is the annual percentage rate of interest.

                                            3
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 5 of 16 PageID #: 487



after notification will be considered stolen and the proper authorities will be notified."

(ld. at A16) (emphasis added)

       Plaintiff apparently took possession of the van on April 28th and returned to

defendant's place of business the following day, April 29, 2008, in order to pick up the

temporary tag and to sign over title to the Montana. According to plaintiff, he was asked

to sign a second "Retail Order for a Motor Vehicle" ("Buyer Order #2) and a second

Retail Installment Sales Contract ("RISC #2") for the van, which documents were

backdated April 28, 2008. (0.1. 51 at A21-26) Buyer Order #2 included the following

information: (1) a selling price of $10,788.73; (2) amount financed of $9,311.73; (3)

through Wilmington Trust Company; (4) 63 payments; (5) of $236.21 per month; (6)

representing a 19.30% APR. (Id. at A21) Buyer Order #2 was signed by plaintiff, but

not by any representative of defendant; it contains the same language regarding its

validity as did Buyer Order #1.

      RISC #2 appears to be a Wilmington Trust document that included the following

"Federal Truth-in-Lending Disclosures:" (1) total sales price of $17,381.23 (including

the $2,500 down payment); (2) amount financed of $9,311: (3) at a 19.3% APR; (4)

over 63 months; (5) payments of $236.21 per month; (6) beginning May 28, 2008. (Id.

at A23) RISC #2 further calculated the total finance charge to be $5,569.50, with the

payments totaling $14,881.23. (Id. at A23) Although signed by plaintiff, RISC #2 is

only stamped "Frederick Ford/Mercury Inc." as the "Seller." (Id. at A24)

      Plaintiff received a temporary tag dated April 28, 2008. (D.1. 55 at A6) On April

30, 2008, he obtained automobile insurance on the van, effective April 29, 2008. {/d. at



                                             4
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 6 of 16 PageID #: 488




A2) From the period of April 29, 2008 until at least May 9, 2008, plaintiff had full use of

the van without incident.

        On or about May 12, 2008, plaintiff was informed by a representative of

defendant that he needed to return the van. Plaintiff refused. On or about May 15,

2008, plaintiff was informed that he had not obtained financing and that he was

required to return the van as a result. (0.1. 55 at 7-8) According to plaintiff, as of May

29, 2008, he had not been notified that his application for financing had been denied by

the creditors involved. (0.1. 55 aat 9) The van was repossessed on or about June 14,

2008.

        Plaintiff submitted a credit report as an exhibit to his responsive brief. According

to the report: (1) on April 21,2008, defendant, Regional Acceptance Corporation,

Chase, and CapitalOne Auto Finance made credit inquiries; (2) on April 25, 2008,

defendant, Regional Acceptance Corporation, CapitalOne Auto Finance, AmeriCredit,

Wells Fargo Auto Finance, Inc., and HSBC Auto Finance made credit inquiries; and (3)

on April 29 2008, defendant, Wilmington Trust Company, CapitalOne Auto Finance,

HSBC Auto Finance, and Ford Motor Credit Company made credit inquiries. (0.1. 55,

ex. I) In a letter to plaintiff dated May 18, 2008, Regional Acceptance Corporation

declined to extend credit based on plaintiffs "high debt/income ratio." (0.1. 51 at A20)

Chase addressed a letter to plaintiff dated May 20, 2008 declining his request for credit

and offering to provide more specific details about the declination upon request. (Id. at

A33-36) Wilmington Trust Company addressed a letter to plaintiff dated April 29, 2008

declining to extend plaintiff credit, based on his "delinquent past or present credit

obligations with others." (Id. at A37) Similar letters rejecting an extension of credit to

                                             5
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 7 of 16 PageID #: 489



plaintiff include those from Wells Fargo Auto Finance, Inc. dated May 4,2008 (id. at

A38), AmeriCredit dated May 13, 2008 (id. at A39-A40), Ford Motor Credit Company

(id. at A41). HSBC Auto Finance dated May 20 and May 22, 2008 (id. at A42-A47), and

CapitalOne Auto Finance dated May 3,2008 (id. at A48-A51).

       The record does not clearly indicate when, why or by whom these creditors were

approached in connection with the transaction at bar.2 Nevertheless, there is no

evidence of record to demonstrate that defendant, as opposed to the above creditors,

was going to finance the sale, or that plaintiff was creditworthy.3

       In his complaint, plaintiff generally characterizes the facts and circumstances

recited above as "an increasingly common practice in the retail sales industry called

'spot delivery' or a 'yo-yo sale.'" (D.1. 1 at 1) According to plaintiff,

       [u]sing this practice, the dealer sells an automobile to the consumer
       "on the spot," but intends to string the customer out like a yo-yo, and
       then yank them back to force them into an agreement on different
       terms. Typically, the consumer signs all the paperwork, receives a
       certificate of ownership, temporary or transferred tags, and possession
       of the automobile. The dealer represents to the consumer that
       everything is approved. The consumer leaves the dealership believing
       they own the automobile. The sale is financed by the dealer (as the
       creditor) on a Retail Installment Sales Contract which the dealer states


        2Although exhibit I indicates that defendant and CapitalOne Auto Finance made
credit inquiries on May 19, 2008, plaintiff has provided no evidence that these inquiries
were related to the transaction at issue. Therefore, the court declines to address these
credit inquiries further, especially since plaintiff failed to produce exhibit I during
discovery. (D.1. 156 at 1-2; 0.1. 157 at A75-A81)

        3The court notes that, although there are several credit reports of record relating
to plaintiff (see 0.1. 51 at A17-19; 0.1. 55, ex. I), plaintiff has not obtained any expert
evidence demonstrating either that he was creditworthy or that "[e]ach [credit] inquiry
reduces the credit score" (0.1. 55 at 9) and, therefore, somehow affected his ability to
get credit.


                                               6
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 8 of 16 PageID #: 490



        will be, or has already been, assigned to a third pary. As in the present
        case, the dealer knows that the contract cannot be sold to the third
        party, that the third party has refused to purchase it, and that it will
        require the consumer to agree to more adverse terms to keep the
        car. Many consumers simply agree to the terms. A few, such as the
        plaintiff, object.

(Id.)

III. STANDARD OF REVIEW

        A court shall grant summary judgment only if "the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any,

show that there is no genuine issue as to any material fact and that the moving party is

entitled to judgment as a matter of law." Fed. R. Civ. P. 56{c). The moving party bears

the burden of proving that no genuine issue of material fact exists. See Matsushita

E/ec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 n.1 0 (1986). "Facts that

could alter the outcome are 'material,' and disputes are 'genuine' if evidence exists from

which a rational person could conclude that the position of the person with the burden

of proof on the disputed issue is correct." Horowitz v. Fed. Kemper Life Assurance Co.,

57 F.3d 300, 302 n.1 (3d Cir. 1995) (internal citations omitted). If the moving party has

demonstrated an absence of material fact, the nonmoving party then "must come

forward with 'specific facts showing that there is a genuine issue for triaL'" Matsushita,

475 U.S. at 587 (quoting Fed. R. Civ. P. 56(e». The court will "view the underlying facts

and all reasonable inferences therefrom in the light most favorable to the party

opposing the motion." Pa. Coal Ass'n v. Babbitt, 63 F.3d 231,236 (3d Cir. 1995). The

mere existence of some evidence in support of the nonmoving party, however, will not

be sufficient for denial of a motion for summary judgment; there must be enough


                                             7
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 9 of 16 PageID #: 491



evidence to enable a jury reasonably to find for the nonmoving party on that issue. See

Anderson v. Uberty Lobby, Inc., 477 U.S. 242, 249 (1986). If the nonmoving party fails

to make a sufficient showing on an essential element of its case with respect to which it

has the burden of proof, the moving party is entitled to judgment as a matter of law.

See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

IV. DISCUSSION

      Despite the potential for fraudulent abuse of spot delivery transactions in a "yo-

yo" sales scheme, the court starts from the premise that, "absent some independent

showing of fraud or misrepresentation, spot delivery transactions are not illegal."

Rucker v. Sheehy Alexandria, Inc., 278 F. Supp. 2d 711,719 (E.D. Va. 2002). The

court in Rucker described a spot delivery transaction as follows:

      In a spot delivery transaction, the buyer takes possession of the
      vehicle pursuant to financing terms which have been agreed upon
      by the parties, but not yet accepted by a third party lender. In the
      event the lender rejects the financing terms, the agreement between
      the buyer and the seller is null and void. A spot delivery sale is used
      to allow the buyer to take possession of the car before the financing
      is approved.

Id. at 713 n.1. According to the court in Rucker, the documents in that case "made

clear that [the transaction] was a spot delivery, because the sale was conditioned upon

financing being obtained from a third party lender according to the terms of the RiSe

within five days from the date of the agreements." Id. at 713. The issue in Rucker

was a narrow one, "whether the disclosures in the second agreement violate[d] the

Truth in Lending Act. .. by calculating the annual percentage rate of interest (APR) on

the basis of the date on the backdated agreement rather than the date the transaction



                                            8
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 10 of 16 PageID #: 492



was consummated." Id.

        With this background in mind, the court will address defendant's motion

consistent with the record presented by the parties.

        A. Federal Statutory Claims

        Each of the three federal statutes asserted in the complaint is directed to a

different aspect of the regulation of credit transactions.

               1. TllA

        The TILA was enacted in order "to assure a meaningful disclosure of credit terms

so that the consumer will be able to compare more readily the various credit terms

available to him and avoid the uninformed use of credit, and to protect the consumer

against inaccurate and unfair credit billing and credit card practices.'" Vallies v. Sky

Bank, 432 F.3d 493, 495 (3d Cir. 2006) (citing Rossman v. Fleet Bank (R.I.) Nat'l Ass'n,

280 F.3d 384,389 (3d Cir. 2002)). See 15 U.S.C. § 1601 (a). The TILA requires

creditors "to make certain prominent disclosures when extending credit, including the

amount financed, all finance charges, and the APR." Rucker, 238 F. Supp. 2d at 716.

The term "creditor" under the TILA has been interpreted to include those persons who

"arrange for" credit, such as automobile dealers that arrange financing for buyers with

finance companies. See, e.g., Whitlock v. Midwest Acceptance Corp., 575 F.2d 652

(8th Cir. 1978); Frazee v. Seaview Toyota Pontiac, Inc., 695 F. Supp. 1406 (D. Conn.

1988). Defendant does not dispute that it is a "creditor" subject to the provisions of the

TILA.

        Plaintiff's claim under the TILA is limited to his assertion that he is entitled to



                                               9
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 11 of 16 PageID #: 493




statutory damages under 15 U.S.C. § 1640(a)(4), based on defendant's alleged failure

"to disclose the correct APR and financing charges after [it] backdated the contract[,

i.e., RISC #2]." (D.1. 55 at 25) More specifically, plaintiff claims as statutory damages4

the difference between the interest payable from April 29, 2008 forward (the date he

executed RISC #2) and the interest payable from April 28, 2008 forward (the date that

appears on RISC #2). (Id.)

      Section 1640(a)(4) provides for damages "in the case of a failure to comply with

any requirement under section 1639 of this title, [in] an amount equal to the sum of all

finance charges and fees paid by the consumer .... " (emphasis added) Plaintiff

cites no authority for the award of statutory damages when the consumer has paid no

finance charges associated with the APR. See, e.g., Rucker, 228 F. Supp. 2d at 716

(the second agreement "is the surviving agreement by which the parties remain bound

and according to which Rucker has continued to make her payments due on the loan.").

      The court declines to award statutory damages under the TILA in circumstances

where, as here, plaintiff was never obligated to pay any finance charges related to the

purchase of the van. s Therefore, defendant's motion for entry of a summary judgment




      4Plaintiff does not claim actual damages.

        sThe court is cognizant of the case authority finding that a transaction, deemed
consummated under the TILA and Regulation Z when the consumer becomes
contractually obligated on a credit transaction, can encompass unfunded financing
agreements. See, e.g., Nigh v. Koons Buick Pontiac GMC, Inc., 319 F.3d 119, 124 (4th
Cir. 2003). Nevertheless, as noted above, the very transaction described by plaintiff in
his complaint (the "yo-yo sales scheme") contemplates a transaction where both parties
are bound. Moreover, it is apparent that the terms of RISC #2 were more favorable
than those of RISC #1. (D.1. 56 at 3) It would be nonsensical to award damages to
plaintiff under these circumstances.

                                           10
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 12 of 16 PageID #: 494




is granted with respect to count IX.

              2. ECOP

       The ECOP makes it "unlawful for any creditor to discriminate against any

applicant, with respect to any aspect of a credit transaction ... on the basis of race,

color, religion, national origin, sex or marital status, or age." 15 U.S.C. § 1691(a).6

Plaintiff does not allege such discrimination. (0.1. 55 at 17) Rather, he asserts that

defendant violated the procedural notification requirements found in 15 U.S.C. §

1691(d? and Regulation B, 12 C.F.R. § 202.9, when it failed to send him "an adverse

action notice as required by law." (Id.)

       Even assuming that these notification requirements can be triggered in the

absence of discrimination, § 1691(d)(4) precludes a finding of liability against

defendant. That section provides that, "(w]here a creditor has been requested by a

third party to make a specific extension of credit directly or indirectly to an applicant, the

notification and statement of reasons required by this subsection may be made directly

by such creditor, or indirectly through the third party, provided in either case that the

identity of the creditor is disclosed." This requirement has been met. (0.1. 51 at A20,

A33-51) See generally, Treadway v. Gateway Chevrolet Oldsmobile, Inc., 362 F.3d

971,975 (7th Cir. 2004); Thele v. Sunrise Chevrolet, Inc., 2004 WL 1194751, at *7


        6Regulation B was issued by the Board of Governors of the Federal Reserve
System pursuant to the ECOP, with the same purpose of promoting "the availability of
credit to all creditworthy applicants without regard to race, color, religion, national origin,
sex, marital status, or age." 12 C.F.R. § 202.1.

       7Although   plaintiff refers to § 1691 (c) ("Additional activities not constituting
discrimination"), the court believes the proper citation is to subsection (d) ("Reason for
adverse action").

                                              11
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 13 of 16 PageID #: 495



(N.D. III. 2004). Therefore, plaintiff has failed to raise genuine issues of material fact as

to his claims under the ECOP and Regulation 8; defendant is entitled to judgment as a

matter of law as to counts" and III.

              3. FCRA

       The FCRA was enacted by Congress "'to ensure fair and accurate credit

reporting, promote efficiency in the banking system, and protect consumer privacy.'"

Gelman v. State Farm Mutual Automoblie Insurance Co., 583 F.3d 187, 191 (3d Cir.

2009) (citing Safeco Ins. Co. of America v. Burr, 551 U.S. 47, 127 S. Ct. 2201, 2205

(2007». In order to ensure that '''consumer reporting agencies[8J exercise their grave

responsibilities with fairness, impartiality, and a respect for the consumer,'" Gelman,

583 F.3d at 191 (citing 15 U.S.C. § 1681 (a)(4», the FCRA prohibits '''credit agencies

from releasing consumer credit reports[9] 'unless the release occurs for one of the

permissible purposes set forth in 15 U.S.C. § 1681b(a).'" Id. (citing Cole v. U.S. Capital,

Inc., 389 F.3d 719,727 (7th Cir. 2004».


       8A "consumer reporting agency" is defined as "any person which, for monetary
fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in
the practice of assembling or evaluating consumer credit information or other
information on consumers for the purpose of furnishing consumer reports to third
parties, and which uses any means or facility of interstate commerce for the purpose of
preparing or furnishing consumer reports." 15 U.S.C. § 1681a(f).

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         9 A 'consumer credit report' is 'any written, oral, or other communication of any
information by a consumer reporting agency bearing on a consumer's credit worthiness,
credit standing, credit capacity, character, general reputation. personal characteristics,
or mode of living which is used or expected to be used or collected in whole or in part
for the purpose of serving as a factor in establishing the consumer's eligibility for: (A)
credit or insurance to be used primarily for personal, family or household purposes; (8)
employment purposes; or (C) any other purpose authorized under section 1681b of this
title.' 15 U.S.C. § 1681a(d)(1)." Id. at 191 n.6.

                                            12
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 14 of 16 PageID #: 496



       Plaintiff seeks damages under FCRA pursuant to 15 U.S.C. §§ 1681n and

16810, which generally provide that any "person" who negligently or willfully "fails to

comply with any requirement imposed under [FCRA] with respect to any consumer is

liable to that consumer." Id. The only violation of FCRA asserted by plaintiff is that

related to his allegation that defendant "accessed" his credit report without authorization

after April 28, 2008,10 in violation of 15 U.S.C. § 1681b(a)(3)(A). Section 1681b(a)(3)(A)

provides that

                any consumer reporting agency may furnish a consumer report ...
                [t]o a person which it has reason to believe-intends to use the
                information in connection with a credit transaction involving the
                consumer on whom the information is to be furnished and involving
                the extension of credit to, or review or collection of an account of,
                the consumer....

Among the permissible purposes for disclosure of a consumer's credit information is

"when the consumer applies for credit" or "when a credit or insurance provider is

extending the consumer a 'firm offer of credit or insurance.'" Gelman, 583 F.3d at 191

(citing 15 U.S.C. § 1681b(c)(1)(B)(I».11

      Plaintiff has offered neither evidence nor argument to flesh out his FCRA claim.


        1°More specifically, plaintiff asserts that defendant "made, or caused to be made,
eleven (11) post April 28,2008 inquiries on plaintiff's credit report." (D.1. 55 at 20) As
noted above, however, the summary judgment record provided by the parties indicates
that: (1) five, not eleven, credit inquiries ostensibly related to this transaction were
made after April 28, 2008; (2) these five inquiries were made on April 29, 2008, when
plaintiff was still actively engaged in the transaction; and (3) Wilmington Trust
Company, the one creditor plaintiff attempted to pay, made its credit inquiry on April 29,
2008.

       11See also 15 U.S.C. § 15 U.S.C. § 1681a(l) and Murray v. New Cingular
Wireless Services, Inc., 523 F.3d 719, 723 (7th Cir. 2008), for a discussion of "firm offer
of credit".


                                             13
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 15 of 16 PageID #: 497



The factual underpinning of the claim is that he "instructed defendant to refrain from

causing any additional credit inquiries" on April 28, 2008. This allegation is contained in

the complaint (D.1. 1,   ,-r 44), but not in his deposition or in any other evidence of record.
(D.1. 157 at A91) Indeed, it is clear from the record that plaintiff initiated the transaction

and authorized credit inquiries as early as April 21, 2008 and was still engaged in the

transaction as late as April 29, 2008. Therefore, plaintiff has raised no genuine issues

of material fact as to whether the credit inquiries were made in connection with his

credit application. Although the number of credit inquiries associated with this

transaction (including defendant's) seem high, the facts of record do not support the

legal claims as structured. Consequently, defendant's motion for summary judgment

shall be granted as to count IV.

       B. State and Common Law Claims

       Plaintiff raises a number of state and common law claims. Because the court

has disposed of all of the federal claims over which it had original jurisdiction, the court

declines to exercise supplemental jurisdiction over the remaining claims, pursuant to 28

u.S.C. § 1367(c)(3). See generally, Eubanks v. Gerwen, 40 F.3d 1157, 1162 (11th Cir.

1994) (citing Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343 (1988) (comity suggests

that, with respect to the early disposal of federal claims, any remaining state law claim

should be heard in state court if plaintiff desires to press it)).12

v.   CONCLUSION

       For the reasons stated, defendant's motion for summary judgment is granted as


       121t is the court's understanding that none of these claims would be barred by an
applicable statute of limitations.

                                               14
Case 1:08-cv-00808-SLR Document 64 Filed 03/17/10 Page 16 of 16 PageID #: 498



to counts II, III, IV and IX of the complaint. The court declines to exercise supplemental

jurisdiction over the remaining state and common law claims (counts I, V, VI, VII, VIII

and X); therefore, the complaint is dismissed as to these counts. An order shall issue.




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